Case 1:19-cv-00874-RBJ-MEH Document 346-6 Filed 01/29/21 USDC Colorado Page 1 of 5




                     EXHIBIT 5
Case 1:19-cv-00874-RBJ-MEH Document 346-6 Filed 01/29/21 USDC Colorado Page 2 of 5




   Via Email                                                              January 18, 2021

   Special Master Regina Rodriquez
   regina.rodriguez@wilmerhale.com

           Re: Warner Records v. Charter Commc’ns, No. 19-cv-00874

   Dear Ms. Rodriguez:

           Plaintiffs identify the following ripe issues for discussion during tomorrow’s hearing.

            1. Charter should be ordered to comply with your April 28 PII Order. Your April
   28 Order adopted Charter’s proposal that it “produce PII for the 112 residential subscribers with the
   greatest number of tickets.” Dkt. 164 at 5. Charter’s August 2 disclosure of PII did not comply with
   that directive. To begin, in calculating the “top 112” subscribers, Charter did not account for the
   subscribers it identified in its court-ordered, June 25 production of DHCP logs. Ex. 1. In addition, a
   March 2016 document that Charter produced
   See Ex. 2 at p. 4.
                                                                                  —meaning that Charter
   did not disclose PII for the top 112, as you ordered Charter to do. Yet Charter refuses to provide
   Plaintiffs the PII for those top-25 notice recipients from 2015. Charter should be ordered to correct
   its disclosure of PII by (1) accounting for its DHCP logs; and (2) identifying the                  in
   Exhibit 2.

           2. The PII Order should be amended to include four additional subscribers.
   When you ordered Charter to provide PII for the top 112 subscribers, you recognized that this was a
   starting place and that Plaintiffs might seek additional disclosures. April 17, 2020 Hrg. Tr. at 71:15‐
   17, 74:4‐12. Accordingly, Plaintiffs now seek disclosure of the PII for four additional subscribers.
   The first is referred to in a Charter email                                                     Exs. 1,
   3. Charter’s contends that it was not required to terminate a subscriber’s service “unless that
   subscriber was first adjudicated to be a repeat infringer.” Dkt. 160 at 13. This email


                                                                      Plaintiffs also request that
                                                                                in three documents
   Charter produced. Exs. 1, 4. These documents


            3. Charter should be ordered to search all agreed-upon custodians for
   Plaintiffs’ narrowed request seeking documents discussing the BMG v. Cox case and
   Charter’s own policies and procedures. Pursuant to your direction at the December 21
   hearing, Plaintiffs have narrowed their request for documents relating to BMG v. Cox. See
   12/21/2020 Hrg. Tr. at 13:1-14; 17:5-15; Ex. 5. Charter has agreed to the narrowed request, but
   refuses to search the five custodians who are most likely to have the relevant documents, all of whom
   are in its legal department. Ex. 5. Charter refused to search its legal custodians for documents
   responsive to the narrowed request on the grounds that: (1) Charter claimed it would be burdensome
Case 1:19-cv-00874-RBJ-MEH Document 346-6 Filed 01/29/21 USDC Colorado Page 3 of 5




   Special Master Regina Rodriquez
   January 18, 2021
   Page 2


   to log their documents; and (2) Charter does not want to disclose the dates on which any assertedly
   privileged communications occurred. Id.

            Neither is a valid basis to exclude relevant communications. As to the first, Charter refuses
   to corroborate its burden claim by providing any hit counts for Plaintiffs’ search term as applied to
   its legal custodians. As to the second, Charter’s claim that it may exclude legal custodians because
   Plaintiffs should not see the dates of logged communications is contrary to law. Privilege logs
   regularly contain the dates of privileged communications, and those dates are not themselves
   privileged. Charter relies on an out-of-district case permitting a party to redact “email header[s]”
   from a privileged email, on the basis that it would disclose details, such as the topic and time of the
   conversation, that the opposing party would not otherwise be entitled to. Schuler v. Invensys Bldg.
   Systems, Inc., 2009 WL 425923, at *2 (N.D. Ill., 2009). Setting aside that Schuler acknowledges
   countervailing authority in that jurisdiction, see id., and says nothing about searching for documents
   in the first place, in this Court, the opposing party is entitled to see dates and topics. Thane v.
   GEICO Cas. Co., 2017 WL 3157966, at *6 (D. Colo. July 25, 2017) (Hegarty, J) (privilege logs must
   include “date of creation, author, title or caption, addressee and each recipient, and general
   nature”). Indeed, Charter relied on Schuler when opposing Plaintiffs’ request that Charter add
   subject lines to its privilege log, and the Court rejected Charter’s position. Ex. 6 at 207:3-20.

           4. Charter should be ordered to unredact what it claims is “non-responsive
   budgetary information” from documents you ordered produced. In response to your
   May 29 Order that Charter produce documents responsive to Plaintiffs’ RFPs 52-53, Dkt. 181 at 37-
   38, Charter produced eight spreadsheets, and redacted the vast majority of the information in them
   on the grounds that this was “non-responsive” budgetary information. Ex. 7. For example, in one
   spreadsheet, Charter redacted 426 of the 444 cells. Ex. 12. Judge Hegarty has recently confirmed
   that “you generally don’t get to produce documents and then redact nonresponsive information.” Ex.
   8 at 83:15‐22, see also id. at 85:8‐10, 92:15‐19. Charter should not be permitted to maintain these
   unilateral responsiveness redactions.

           5. Charter should be ordered to provide discovery that peer-to-peer
   infringement is “no longer an issue.” Plaintiffs seek to compel discovery sought by the six
   RFPs and three interrogatories listed in Appendix 1. These requests seek information showing that
   peer-to-peer infringement is still a problem, that Charter continues to contribute to and financially
   benefit from it, and that there is value in deterring Charter’s unlawful conduct. This information
   would rebut Charter’s defense that any recovery would be a windfall to Plaintiffs because “today the
   [peer‐to‐peer] problem is no longer here . . . [n]ow plaintiffs are making a ton of money off of
   internet streaming, so it’s no longer an issue” and there is thus no need for any deterrence. Ex. 6 at
   34:1‐10; see also July 19, 2020 Motion to Compel at 7. Charter argues that Plaintiffs’ statutory
   damages should be reduced for this reason. Id.

          Charter refused to engage with Plaintiffs regarding this discovery, claiming the only
   relevance to such discovery would be Plaintiffs’ now-dismissed counter-counterclaims. Ex. 9; see
   also Exs. 10-11. That is not so. Charter sought and obtained discovery from Plaintiffs for the post-
   Claim Period on the basis of this damages defense. Plaintiffs have an equal right to discovery into
   post-Claim Period infringement that bears on that defense.
Case 1:19-cv-00874-RBJ-MEH Document 346-6 Filed 01/29/21 USDC Colorado Page 4 of 5




   Special Master Regina Rodriquez
   January 18, 2021
   Page 3


                                                      Respectfully submitted,

                                                      /s/ Jonathan M. Sperling

                                                      Jonathan M. Sperling
Case 1:19-cv-00874-RBJ-MEH Document 346-6 Filed 01/29/21 USDC Colorado Page 5 of 5


                                              Appendix 1

   RFP 89: Logs of all Infringement Notices sent to you by any person or entity from May 18,
   2016 to April 30, 2020, concerning (i) subscribers identified in Plaintiffs’ Infringement Notices
   and (ii) all Subscribers who were the subject of three or more Infringement Notices, sufficient to
   show, as to each such Infringement Notice, the Subscriber ID, ticket number, date and time of
   alleged infringement as set forth in the Infringement Notice, IP address, each action taken or
   determined to not be taken with respect to such Infringement Notice, and the date and time of
   each such action or determination. See Plaintiffs’ RFP 2; Dkt. 242; September 9, 2020 Hrg. Tr.
   at 38:11-69:17.
   RFP 98: “Internal and external communications regarding copyright infringement by Charter’s
   subscribers, sent to or from members of Charter’s Network Securities Operations team [or its
   successor or functional equivalent] during the [Subsequent Claim Period], excluding form
   messages, form responses, or mere forwards of form messages (without more).” See Plaintiffs’
   RFP 16, as modified in search term negotiations; quoting Special Master’s August 31, 2020
   Order.
   RFP 101: Documents sufficient to show the actual monthly revenue from all Subscribers
   identified in Plaintiffs’ Infringement Notices for May 18, 2016 through April 30, 2020. See
   Plaintiffs’ RFP 19; Plaintiffs’ December 16, 2019 Letter for December 17, 2019 Discovery
   Conference; December 17, 2019 Hrg. Tr. at 47:1-59:4; February 19, 2020 Hrg. Tr. at 143:2-25.
   RFP 110: Internal communications “concerning Charter’s copyright and DMCA policies.” See
   Plaintiffs’ RFP 28; quoting Charter’s April 29, 2020 Supplemental Responses to Second Set of
   RFPs.
   RFP 112: All of your internal communications discussing any Infringement Notice, any
   instance of alleged copyright infringement, or any “ticket” generated in response to any
   Infringement Notice, including internal communications concerning the actual or potential
   termination of any Subscriber’s account with Charter. See Plaintiffs’ RFP 30; Special Master’s
   August 31, 2020 Order.
   RFP 128: All “work-log notes”—or other records or logs of calls between your employees and
   your subscribers concerning infringement notices—associated with Plaintiffs’ notices, or all
   Infringing Subscribers who were the subject of three or more Infringement Notices. See
   Plaintiffs’ RFP 56; Dkt. 181 at 28-30; July 2, 2020 Hrg. Tr. at 29, 32.
   Interrogatory 20: State the number of Infringement Notices you received each month from
   May 18, 2016 through April 30, 2020, and identify the person(s) most knowledgeable about such
   notices since May 18, 2016. See Plaintiffs’ Interrogatory 13; Dkt. 181 at 26-27.
   Interrogatory 21: State the number of Customer Facing Actions, by Customer Facing Action,
   you took each month from May 18, 2016 through April 30, 2020 in response to the Infringement
   Notices identified in response to Interrogatory No. 20 and identify the person(s) most
   knowledgeable about such Customer Facing Actions. See Plaintiffs’ Interrogatory 14; Dkt. 181
   at 26-27.
   Interrogatory 22: Identify each Infringing Subscriber, by account number, whose internet
   service was terminated for nonpayment from May 18, 2016 through April 30, 2020 who also
   received at least three Infringement Notices. See Plaintiffs’ Interrogatory 16; Dkt. 230 at 7-9.
